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UNITED STATES DISTRICT COURT \ DA ck TILESD: YI [eher &
SOUTHERN DISTRICT OF NEW YORE pce ee rte wenn
om ma hr rer ee eee ee ee ee ee XK
UNITED STATES OF AMERICA, :
16 Civ. 7301 (NSR)
Plaintiff,
-V.- : STIPULATION AND ORDER OF
SETTLEMENT AND DISMISSAL
GINSBURG DEVELOPMENT COMPANIES, LLC,
Defendant.
a x

WHEREAS, on September 19, 2016, the United States brought this action (the
“Action”) to enforce the accessible design and construction provisions of the Fair Housing Act
(the “FHA”), codified at 42 U.S.C. § 3603((3);

WHEREAS, on September 28, 2016, the Court entered a Consent Order of
Preliminary Injunction in this Action, requiring Ginsburg Development Companies, LLC
(“GDC”) to ensure that four residential apartment complexes that GDC was then constructing
will comply with the FHA’s Accessible Design requirements;

WHEREAS, on April 12, 2017, GDC responded to the Complaint;

WHEREAS, the United States and GDC have reached a stipulation on certain terms
that resolve this matter in its entirety, as set forth in Exhibit A attached hereto (the “Settlement
Stipulation”);

WHEREAS, the Settlement Stipulation does not modify, and shall not be construed to
modify, the terms and requirements of the Preliminary Injunction in relation to the four
residential apartment complexes subject to that injunction;

IT IS HEREBY STIPULATED AND AGREED, by and between the United States
and GDC, as follows:

1. This Action is stayed for a period of 60 days to permit GDC to implement the

 
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requirements of paragraphs 3-4, 7-8, 27-31, 38-39, 40, and 45 of the Settlement
Stipulation.

No later than 60 days from the entry of this Stipulation and Order, the United States
and GDC shall submit a joint status letter to the Court to indicate whether the
requirements of paragraphs 3-4, 7-8, 27-31, 38-39, 40, and 45 of the Settlement
Stipulation have been implemented, In the event that the joint status letter submitted
by the United States and GDC indicates that the implementation of those
requirements has been completed, this Action shall be dismissed without prejudice to
reinstatement upon the application of any party in the event of a breach of the
provisions of the Settlement Stipulation, provided that such application is made
within one year following the entry of this Stipulation and Order.

In the event that no party has applied for reinstatement pursuant to Paragraph 2 above
and that the parties have not agreed, in writing, to extend the term of the Settlement
Stipulation, this action shall be dismissed with prejudice and not subject to

reinstatement after three years following the entry of this Stipulation and Order.

 
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4, Each party to the action shall bear its own costs and attorney’s fees,

GEOFFREY 8. BERMAN

United Staigs Atfomey
By: AD

Lr-vu

NATASHA WAGLOW TELEANU
Assistant United States Attorneys
86 Chambers Street, 3rd Floor

New York, New York 10007

Tel, (212) 637-2734/2528

Counsel for the United States

DATED: April {2,.2018
White Plains, New York

GINSBURG & REDMOND, P.C,

   

Ay
245 Saw Mill River Road, Suite 106
Hawthorne, New York 10603

"Tel. (914) 495-3515

Counsel jor GDC

50 ORDERED ——

 

HON. NELSOWSTEPHEN ROMAN
UNITED STATES DISTRICT JUDGE

 

 

 
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,
Plaintiff,

 

16 Civ. 7301 (NSR)

¥.

GINSBURG DEVELOPMENT COMPANIES, LLC, STIPULATION OF

Defendant. SETTLEMENT

 

 

INTRODUCTION

This Stipulation of Settlement (the “Stipulation”) is entered into between Plaintiff the
United States of America (the “United States”) and defendant Ginsburg Development
Companies, LLC, along with its subsidiaries and affiliates that own and operate the following
rental complexes: Riverside and Parkside in Haverstraw, New York (collectively, “GDC” or
“Ginsburg Development”);

WHEREAS, the United States brought this action (the “Action”) to enforce
provisions of the Fair Housing Act (“FHA”), codified at 42 U.S.C. §§ 3601-3619. Specifically,
the United States’ complaint in this Action, filed on September 19, 2016, alleges that GDC has
engaged in a pattern or practice of discrimination, and has denied rights to a group of persons in
a manner raising an issue of general public importance, by failing to design and/or construct the
Riverside and Parkside complexes, two residential apartment complexes in Haverstraw, New
York, with the features of accessible and adaptive design and construction required by the FHA,
42 U.S.C. § 3604(HG)(C);

WHEREAS, Riverside and Parkside are subject to the accessible design and

construction requirements of the FHA, 42 U.S.C. § 3604(D(G)(c);

 
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A. Defendant

WHEREAS, Ginsburg Development, is a New York business organization that,
directly and/or operating through its subsidiaries and affiliates, developed Riverside and Parkside
and, in that capacity, participated in the design and construction of these apartment complexes;
B. Relevant Requirements of the Fair Housing Act

WHEREAS, the FHA provides that residential buildings with four or more dwelling
units, and one or move elevators, designed and constructed for first occupancy after March 13,
1991, are Covered Multifamily Dwellings and must include certain basic features of accessible
design as set forth in 42 U.S.C. §§ 3604((3)(C) and ((7)(A);

WHEREAS, the accessible and adaptive design provisions of the FHA require that
for Covered Multifamily Dwellings: (i) the public use and common use portions of such
dwellings are readily accessible to and usable by persons with a disability; (ii) all the doors
designed to allow passage into and within all premises within such dwellings are sufficiently
wide to allow passage by persons with a disability using wheelchairs; (iii) all premises within
such dwellings contain the following features of adaptive design: (1) an accessible route into and
through the dwelling; (ITD light switches, electrical outlets, thermostats, and other envitonmental
controls in accessible locations; (II]} reinforcements in bathroom walls to allow later installation
of grab bars; and (IV) usable kitchens and bathrooms such that an individual using a wheelchair
can maneuver about the space. 42 U.S.C. § 3604(f)(3)(c) (these provisions and features are
referred to herein as the “Accessible Design Requirements”);

WHEREAS, on September 28, 2016, the Court entered a Consent Order of
Preliminary Injunction (the “Preliminary Injunction”) in this Action, requiring GDC to ensure
that four residential apartment complexes that GDC was then constructing will comply with the

FHA’s Accessible Design requirements;

 
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WHEREAS, this Stipulation does not modify, and shall not be constiued to modify,
the terms and requirements of the Preliminary Injunction in relation to the four residential
apartment complexes subject to that injunction;

Cc. Conditions at Riverside and Parkside

WHEREAS, Riverside is a residential apartment building located at 4100 Southernly
Pointe Drive in Haverstraw, New York. The Riverside complex contains 106 rental units and
has elevator access. The public and common features at Riverside include a gym and a
swimming pool;

WHEREAS, an inspection of Riverside was conducted on February 21 and June 9,
2017, and that inspection specifically identified, among others, the following conditions at
Riverside that the United States alleges fail to meet the Accessible Design Requirements:

= Excessively high thresholds at entrances to some individual units, entrances to
individual bathrooms, and patios in individual units that interfere with accessible
routes for persons who use wheelchairs;

= The locations of thermostats, light switches, and electrical outlets in some of the
individual units make them inaccessible to persons who use wheelchairs;

" Kitchen sinks and bathroom toilets in individual units lack sufficient clearance for
persons who use wheelchairs;

= Mailboxes are mounted too high from the floor and too close to the wall to
accommodate persons who use wheelchairs;

" Insufficient clear opening door widths in the fitness room bathroom;

" ‘The force required to operate the doors to the fitness room bathroom and the first floor
laundry room interferes with accessibility for persons with certain disabilities;

= The side grab bar in the fitness room bathroom is an insufficient distance for persons

 
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with certain disabilities.

WHEREAS, Parkside is a residential apartment complex located at 2100 Round

Pointe Drive in Haverstraw, New York. The Parkside complex contains 110 rental units and has

elevator access.

WHEREAS, an inspection of Parkside was conducted on December 7, 2016, and that

inspection specifically identified, among others, the following conditions at Parkside that the

United States alleges fail to meet the Accessible Design Requirements:

Excessively high thresholds for the patios of some individual units that interfere with
accessible routes for persons who use wheelchairs;

The locations of thermostats and electrical outlets in some of the individual units make
them inaccessible to persons who use wheelchairs;

Bathroom countertops in some of the individual units obstruct the ability to install
grab bars for persons with certain disabilities;

Mailboxes are mounted too high from the floor and too close to the wall to
accommodate persons who use wheelchairs;

The side grab bar, lavatory, and toilet paper dispenser in the fitness room bathroom are

positioned at insufficient locations to enable use by persons with certain disabilities.

D. Agreement of the Parties to this Stipulation

WHEREAS, the parties agree that this Court has jurisdiction over the subject matter of

this case pursuant to 28 U.S.C. §§ 1331 and 1345, and 42 U.S.C. § 3614(a), and further agree

that this controversy should be resolved without further proceedings and without an evidentiary

hearing or a trial;

WHEREAS, the parties’ agreement to this Stipulation is not intended to and does not

limit GDC, individually or collectively, from instituting a separate action seeking contribution,

 
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or damages in the nature of indemnification or breach of contract or for any other reason from
any individual or entity involved in the design and/or construction of any property that is the
subject of this Stipulation; and

WHEREAS, GDC agrees to make modifications to Riverside and Parkside as set forth
herein and the attached appendices; and the parties agree to this Stipulation.

It is hereby AGREED, by and between the parties:

I. COMPLIANCE WITH THE FHA
1. GDC and each of its officers, employees, agents, successors, and assigns, and all
other persons in active concert or participation with them, agree that they will not discriminate
on the basis of disability as prohibited by the FHA, 42 U.S.C. § 3604.
II. RETROFITS AT RIVERSIDE AND PARKSIDE

2. The United States alleges that Riverside and Parkside were not designed or
constructed in accordance with the FHA or the Fair Housing Accessibility Guidelines, Design
Guidelines for Accessible/Adaptable Dwellings, 56 Fed. Reg. 9472 (Mar. 6, 1991) (the
“Guidelines”), Without admitting liability, GDC agrees to address the conditions alleged to be
FHA violations at Riverside by making the modifications set forth in Appendices A-1 and B-1,
and agrees to address the conditions alleged to be FHA violations at Parkside by making the
modifications set forth in Appendices A-2 and B-2.
A. Modifications to the Public and Common Use Areas

3. GDC acknowledges that certain of the public and common use areas at Riverside
and Parkside as herein enumerated do not meet the requirements of any recognized safe harbor
for compliance with the FHA. GDC agrees to modify the public and common use areas of

Riverside and Parkside by taking the actions described herein and in Appendices A-1 and A-2,

 
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respectively. No later than 10 days after the execution of this Stipulation, GDC shall have
finished all the retrofits listed in Appendices A-1 and A-2.

4. GDC shall certify to the United States in writing that the retrofits listed in
Appendices A-1 and A-2 were completed.

B. Modifications to Dwelling Unit Interiors

5. GDC acknowledges that certain of the dwelling unit interiors of Riverside and
Parkside as herein enumerated do not meet the requirements of any recognized safe harbor for
compliance with the FHA. GDC agrees to modify certain of the dwelling unit interiors of
Riverside and Parkside by taking the actions described herein and in Appendices B-1 and B-2,
respectively.

6, For each unit at Riverside listed in Appendix B-1 and each unit at Parkside listed
in Appendix B-2, as soon as reasonably possible, but no later than six (6) months from the
execution of this Stipulation (unless otherwise specified in Appendices B-1 and B-2), GDC shall
finish the retrofits listed in Appendix B-| at Riverside and those listed in Appendix B-2 at
Parkside. GDC shall make reasonable efforts to minimize inconvenience to residents in making
such retrofits.

7. Within thirty (30) days from the date of the execution of this Stipulation, GDC
shall inform cach resident who resides in an individual dwelling unit that is subject to being
retrofitted at Riverside and Parkside, respectively, that: (1) the United States has alleged that
certain features of the resident’s unit do not meet the accessible and adaptive design
requirements of the FHA and that, to settle this lawsuit, GDC agreed to retrofit certain features of
the unit to make them more accessible; (2) the retrofits set forth in Appendices B-1 and B-2 will
be provided within 45 days of any request but will, in any event, take place within six months,

unless otherwise specified in the Stipulation; and (3) the scheduling of the retrofits will take into

 
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account the preferences and convenience of the resident or future resident and that relocation
costs, if any, will be provided in advance. The notice shall be substantially in the form of
Appendix C and may be delivered electronically or in hard copy.

8. GDC shall certify to the United States in writing that the notices described in
paragraph 7 have been distributed and shall specify the manner in which they were distributed,
within thirty (30) days after such distribution, Such certification shall include the names and
addresses of the persons to whom the notices were distributed.

III, No ADVERSE ACTION

9. Neither present nor future residents of Riverside or Parkside may be charged any
additionat rent, deposit, fee, or other consideration for the units in which retrofits are or may be
implemented because of completed, contemplated, or possible retrofits required under this
Stipulation. GDC shall take no adverse action against any present or future resident of Riverside
or Parkside because such person requests to have his or her apartment, or prospective apartment,
modified in accordance with this Stipulation. Nothing in this paragraph, however, shall restrict
or impede GDC’s rights with respect to any of the properties that are the subject of this
Stipulation to continue, in a non-discriminatory manner, to lawfully establish and raise rents
consistent with their business goals and obligations and with market conditions, including
increasing rents after the expiration of a current lease due to an increase in the market value of
the unit, whether or not such increase is on account of upgrades to such unit (other than retrofits
required under this Stipulation) done at or about the same time as retrofits required under this
Stipulation, Performance of the retrofits required by the terms of this Stipulation does not

constitute a diminution in services provided at Riverside or Parkside.

 
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IV. IMPEDIMENTS TO PERFORMANCE

10. ‘In the event that any act or omission beyond GDC’s control and occurring without
its fault or negligence affects the performance of any requirement in Sections II of the
Stipulation, GDC and the United States shall endeavor, in good faith, to determine whether
modifications to this Stipulation are necessary. In particular, if a resident at Riverside or
Parkside refuses (whether lawfully or not) to vacate a unit such that a retrofit required to be
made under this Stipulation may not be made, the parties shall endeavor, in good faith, to
reach agreement on a substitute unit in which a retrofit can be made. Nothing herein shall
be construed as requiring GDC to bring a lawsuit against a resident who refuses to allow
GDC to perform a retrofit to that resident’s unit, as specified in Section I of this Stipulation;
and nothing herein shall be construed as requiring GDC to perform any act beyond the
expiration of this Stipulation except as specified in this paragraph and Paragraph 18.

VY. NEUTRAL INSPECTOR

11. GDC shall enter into a contract with a neutral inspector approved by the United
States (“Inspector”) to conduct on-site inspections of all retrofits performed under this
Stipulation to determine whether modifications have been made in compliance with the
specifications in Appendices A-1 and B-1 at Riverside and Appendices A-2 and B-2 at Parkside.
The Inspector shall have expertise in the design and construction requirements of the FHA.

12. The Inspector may, upon request of GDC, review and comment upon the
sufficiency of all proposed retrofits in writing in advance of any retrofit by GDC, but such
review and comment shall be completed no later than thirty (30) days after the request.

13. An initial inspection of Riverside and Parkside shall take place within thirty (30)

days of the completion of all of the retrofits (except for retrofits to be made at a resident’s

 
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request, on vacancy, or prior to the expiration of the Stipulation) set forth in, respectively,
Appendices A-1 and B-1 and Appendices A-2 and B-2, or as soon thereafter as practicable.

14. With regard to the retrofits for Riverside and Parkside that are required to made at
a resident’s request, on vacancy, or prior to the expiration of the Stipulation, and as set forth in
Appendices B-1 and B-2, an initial inspection of those retrofits shall take place within thirty (30)
days after four years have passed from the execution of this Stipulation.

15. For each initial inspection, GDC shall give the United States at least twenty-one
(21) days prior notice of the inspection and shall give the United States an opportunity to have its
representative present for the inspection.

16. The Inspector shall set out in writing the results of his or her inspection, including
any deficits, and shall send that report to GDC and to the United States.! The report shall state
whether the retrofits required by the applicable Appendix or approved retrofit proposal have
been completed, and shall list any required retrofits that were not completed.

17. If the inspection indicates that not all of the required retrofits have been made as
specified in the applicable Appendices, or retrofit proposals, GDC shall correct any deficiencies
within sixty (60) days and shall pay for another inspection by the same Inspector to certify that
the deficiencies have been corrected. This process shall continue until the Inspector certifies that
all of the necessary modifications have been made. GDC shall pay all of the Inspector’s
reasonable costs associated with these inspections, and such payments shall be made without

regard to the Inspector’s findings. Upon reasonable notice, representatives of the United States

 

! For purposes of this Stipulation, notices provided to the United States shall be addressed
to Chief, Civil Rights Unit, Office of the United States Attorney for the Souther District of New
York, 86 Chambers Street, Third Floor, New York, NY 10007. Electronic courtesy copies also
shall be delivered to the undersigned Assistant United States Attorneys.

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shall be permitted to inspect the modifications and/or the third-party inspection reports provided
for in this Stipulation, to ensure compliance.

18. Nothing in this Stipulation shall relieve GDC of its obligations to schedule
inspections and/or correct deficiencies as set forth in this Section (including, but not limited to,
inspection of the retrofits that GDC is required to make prior to the expiration of the Stipulation)
even if such obligations extend beyond the duration of this Stipulation, GDC shall be entitled to
have its representatives, agents and/or experts attend any such inspections

VI. TRANSFER OF INTEREST IN PROPERTIES

19. The sale or transfer of ownership, in whole or in part, of GDC’s interest(s) in
Riverside or Parkside shall not affect its continuing obligation to retrofit, and/or conduct or allow
inspections or surveys of, Riverside or Parkside, as specified in this Stipulation, unless GDC has
obtained in writing, as a condition of sale or transfer, the purchaser or transferee’s commitment
to assume such obligations, so that the purchaser or transferee will be bound by the terms of this
Stipulation to make retrofits and allow or conduct inspections or surveys as set forth in this
Stipulation, and will be subject to the jurisdiction of this Court.

20. Should GDC decide to sell or transfer any of their ownership in Riverside or
Parkside in whole or in part, or any portion thereof, prior to the completion of the retrofits
specified in this Stipulation for Riverside or Parkside, GDC will, at least thirty (30) days prior to
completion of the sale or transfer: (a) provide each prospective buyer with a copy of this
Stipulation and written notice that the property is subject to this Stipulation, including
specifically GDC’s obligations to either (i) complete required retrofit work and allow
inspections, or (ii) assign such obligations to the purchaser or transferee by obtaining the
purchaser or transferee’s commitment to be bound by this Stipulation, subject to the jurisdiction

of this Court; and (b) provide to the United States, by facsimile and first-class or overnight mail,

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written notice of the ownet’s intent to sell or transfer ownership, along with a copy of the notice
sent to each buyer, and each buyer’s name, address and telephone number.

VII. Non-DISCRIMINATION IN OTHER DESIGN AND CONSTRUCTION

21. GDC shall design and construct all new Covered Multifamily Dwellings in full
compliance with either (i) the Guidelines, or (ii) a standard designated as an FHA safe harbor by
the Department of Housing and Urban Development (each a “Standard”), During the term of
this Stipulation, upon reasonable notice, the United States will be permitted reasonable access to
such properties to inspect for compliance with such standards, rules, and laws.

22. For each new Covered Multifamily Dwelling that GDC constructs during the term
of this Stipulation, GDC shall retain an FHA compliance consultant (the “FHA Consultant”) to
help ensure that the as-constructed features at such properties comply with the FHA’s Accessible
Design Requirements. GDC shall direct its employees, agents, and/or contractors to seek the
FHA Consultant’s advice regarding the selection of appliances (e.g., reftigerators and ranges)
and fixtures (e.g., doors, thresholds, and lavatories); the effect of deviations from the architects’
plans on the accessibility of conditions at the property; as well as other issues that arise during
construction that affect accessibility. Further, prior to the completion of construction of each
building, GDC shall arrange for the FHA Consultant to conduct a visit of the building to identify
any construction issues that may result in inaccessible conditions and recommend appropriate
solutions.

23. The agreement or contract between GDC and the FHA Consultant shall specify
that the FHA Consultant is being retained pursuant to this Stipulation. Further, within thirty (30)
days of retaining the FHA Consultant, GDC shall provide a copy of this Stipulation to the FHA

Consultant and secure the signed statement from the FHA Consultant acknowledging that he or

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she has received and read the Stipulation and has had an opportunity to have questions about the
Stipulation answered. This statement shall be substantially similar to the form of Appendix D.

24. During the term of this Stipulation, GDC shall submit, on an annual basis, a
certification to the counsel for the United States affirming that they have retained a FHA
Consultant for each Covered Multifamily Dwelling under construction during that year and
specifying each covered multifamily dwelling for which a FHA Consultant was retained by GDC
to provide advice and the identity (and affiliation, if applicable) of the FHA Consultant. GDC
shall provide this certification within 30 days of the end of each 12-month period from the
execution of this Stipulation.

25. For the duration of this Stipulation, GDC shall maintain, and provide to the
United States upon request, the following information and statements regarding any new
multifamily dwellings intended to be developed, built, designed, and/or engineered in whole or
in part, by GDC or by any entities in which GDC has a position of control as an officer, director,
member, or manager, or has a ten-percent (10%) or more ownership share:

e the name and address of the project;

e adescription of the project and the individual units;

e the name, address, and telephone number of the civil engineer(s) involved with the

project;

¢ astatement from the civil engineer(s) involved with the project acknowledging and

describing his/her knowledge of and training in the requirements of the FHA and in
the field of accessible site design, certifying that he/she has reviewed the engineering
documents for site work for the project and that the design specifications therein fully
comply with the requirements of the FHA, and stating a Standard with which the

design specifications comply;

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e the name, address and telephone number of the architect(s) who are employed or
retained by GDC and are involved with the project;

* astatement from all architect(s) who are employed or retained by GDC and are
involved with the project, acknowledging and describing his/her knowledge of and
training in the requirements of the FHA and the Guidelines, and in the field of
accessible site design, certifying that he/she has reviewed the architectural plans for
the project and that the design specifications therein fully comply with the
requirements of the FHA, and stating a Standard with which the design specifications
comply.

26. If the engineering documents or architectural plans referred to in paragraph 25 are
revised, and the revisions could have any impact on whether the dwellings or complex complies
with the FHA, GDC shall obtain, maintain, and provide to the United States upon request, a
statement from the site engineer(s) or architect(s) who are employed or retained by GDC and are
involved with the project, as applicable, that all specifications in the revised engineering
documents or architectural plans, as pertinent, comply with the requirements of the FHA, and
stating a Standard with which the design specifications comply.

VIIL PAYMENTS TO AGGRIEVED PERSONS

27. Within 30 days of execution of this Stipulation, GDC shall deposit in a non-
interest-bearing account the sum of $55,000 for the purpose of compensating any aggrieved
persons who may have suffered as a result of discriminatory housing practices by GDC at
Riverside and Parkside. This deposited money shall be referred to as the “Initial Settlement
Fund.”

28. Within thirty (30) days of the execution of this Stipulation, GDC shall publish the

Notice to Persons Who May Have Suffered from Inadequate Accessible Features at Riverside or

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Parkside (“Notice”) at Appendix E informing readers of the availability of compensatory funds.
The Notice shall be no smaller than three columns by six inches and shall be published on three
occasions in the following newspapers: the Rockland County Times and the Journal News. The
three publication dates shall be separated from one another by twenty-one (21) days, and at least
two of the publication dates shall be on a Sunday (or Saturday, if the newspaper is not published
on Sunday). Within 10 days of each publication, GDC shall provide the newspapers containing
the Notice to the United States.

29. Within thirty (30) days of execution of this Stipulation, GDC shall place on the
websites http://gdcrentals.com/riverside/ and http://gdc-homes.com/portfolio_item/parkside/ a
link to an electronic version of the Notice in an Adobe Acrobat Portable Document Format
(“PDF”). The link should state “Notice to Persons Who May Have Suffered from Inadequate
Accessible Features at [Insert Riverside or Parkside},” and should appear on the upper half of the
website, in a conspicuous font style and color, in a font size no smaller than the font size for any
of the terms “Green Design,” “Floor Plans,” “Residences,” “Amenities,” “Neighborhood,”
“Gallery,” and “Contact” as they appeared as on December 7, 2017.

30. Within thirty (30) days of the execution of this Stipulation, GDC shall send a
copy of the Notice to each of the following organizations:

Disability Rights Advocates

1560 Broadway, 10th Floor

New York, New York 10036;

Fair Housing Justice Center

30-30 Northern Blvd, #302,

Long Island City, New York 11101;

Legal Aid Society of Rockland County, Inc.

2 Congers Road

New City, NY 10956;

Legal Services of the Hudson Valley
90 Maple Avenue

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White Plains, NY 10601;

Rockland Independent Living Center (RILC)

873 Route 45, Suite 108

New City, NY 10956;

United Spinal Association

75-20 Astoria Blvd.

Jackson Heights, New York 11370.

31. Within thirty 30) days of the execution of this Stipulation, GDC shall send, by
first-class mail, postage pre-paid, a copy of the Notice to each identifiable past or present
resident at Riverside and Parkside. For past residents, GDC will have complied with the
requirements of this paragraph by mailing such notice to the forwarding address provided by the
former resident at the time the former resident moved out of Riverside and Parkside. Within
seventy-five (75) days of execution of this Stipulation, GDC shall provide the United States with
ptoof that the Notices have been sent. The United States may make its own efforts to locate and
provide notice to potential aggrieved persons.

32. GDC shall permit the United States, upon reasonable notice, to review any
records that may reasonably facilitate its investigations to locate allegedly aggrieved persons and
make determinations regarding their potential claims. In addition, GDC shall identify to the
United States any allegedly aggrieved persons or any past, present, or prospective residents of
Riverside or Parkside who have disabilities or regular guests with disabilities, to the extent that
GDC, or their employees or agents at Riverside or Parkside, possess the information required to
make such identifications.

33. The United States shall investigate the claims of allegedly aggrieved persons and
shall determine which persons are aggrieved and an appropriate amount of damages that should

be paid to each such person. The United States will inform GDC in writing of each of its

determinations, together with a copy of a sworn declaration from each aggrieved person setting

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forth the factual basis of the claim. If the United States determines that the Initial Settlement
Fund is insufficient to compensate all aggrieved persons at Riverside and Parkside, the United
States shall be entitled to make determinations that award aggrieved persons, in the aggregate, a
total amount exceeding the amount in the Initial Settlement Fund, but not exceeding $125,000.

34. If GDC disputes the amount of a payment to an aggrieved person, GDC shall,
within fourteen (14) days of receiving notice of a determination from the United States (a
“Determination”), provide a written objection to the United States, along with any information or
documents that they believe may refule the aggrieved person’s claim. ‘The United States shall
give due consideration to any objections it receives from GDC and shall submit, following any
objection, its reconsidered determination (a “Reconsidered Determination”) to GDC, in writing,
setting forth the aggrieved person and the amount that the aggrieved person shall be paid. If
GDC disputes the Reconsidered Determination, it may—within twenty (20) days after receiving
the Reconsidered Determination—file an application with the Court to reinstate this case and
request that the Court adjudicate GDC’s objection to the Reconsidered Determination. In such
an event, the Court may sustain or overrule the objection.

35. GDC shall, no later than twenty (20) days after receiving a Determination to
which no objection has been made, or twenty-five (25) days after receiving a Reconsidered
Determination to which no objection has been filed with the Court, or ten (10) days after any
decision by the Court overruling a filed objection, whichever is earliest, deliver to the United
States checks payable to aggrieved persons in the amounts identified by the United States. In no
event shall the aggregate of all such checks exceed the amount $125,000 plus accrued interest.
No aggrieved person shall be paid until he/she has executed and delivered to the United States

the release at Appendix F.

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36. No adverse action shall be taken against any person because such person
cooperates with the United States in its investigations, makes a claim, or seeks to make a claim
under this Stipulation.

37. In the event that less than the total amount in the Initial Settlement Fund including
accrued interest is distributed to aggrieved persons, and after the United States determines that
no further aggrieved persons will be identified, then, no later than the earlier of (a) when the
United States determines that no further aggrieved persons will be identified, or (b) the
expiration of this Stipulation, any remainder in the Initial Settlement Fund shall be paid to the
United States Treasury.

TX. CIVIL PENALTIES

38. Within thirty (30) days of the date of the execution of this Stipulation, GDC shall
pay a civil penalty of $50,000 pursuant to 42 U.S.C. § 3614(d)(1)(C) to vindicate the public
interest. GDC shall pay said sum by submitting a check made payable to the “United States of
America” to the United States.

X. EDUCATIONAL PROGRAM

39. Within thirty (30) days of the execution of this Stipulation, GDC shall provide a
copy of this Stipulation to all of its agents and employees involved in the design or construction
of Riverside or Parkside and secure the signed statement from each agent or employee
acknowledging that he or she has received and read the Stipulation, and has had an opportunity
to have questions about the Stipulation answered. This statement shall be substantially similar to
the form of Appendix G. During the term of this Stipulation, any new employee, agent, or
supervisor of GDC who will be involved in the design or construction of a new Covered
Multifamily Dwellings shall, within thirty (30) days after the date he or she commences an

agency or employment relationship with GDC, be given a copy of this Stipulation by GDC, and

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GDC shall require each such new agent or employee to sign a statement, acknowledging that he
or she has received and read the Stipulation, and has had an opportunity to have questions about
the Stipulation answered. This statement shall be substantially similar to the form of Appendix
G.

40. Within 30 days of the execution of this Stipulation, GDC shall provide a copy of
this Stipulation to all their agents and employees involved in rental of units at Riverside or
Parkside, and secure the signed statement from each agent or employee acknowledging that he or
she has received and read the Stipulation, and has had an opportunity to have questions about the
Stipulation answered. This statement shall be substantially similar to the form of Appendix G.

41. During the term of this Stipulation any new employee, agent, or supervisor of
GDC who will be involved in the renting of units at Riverside or Parkside shall, within 30 days
after the date he or she commences an agency or employment relationship with GDC, be given a
copy of this Stipulation by GDC, and GDC shall require each such new agent or employee to
sign a statement, acknowledging that he or she has received and read the Stipulation, and has had
an opportunity to have questions about the Stipulation answered. This statement shall be
substantially similar to the form of Appendix G.

42. In lieu of providing individuals or entities with copies of the Stipulation as
required by the preceding paragraphs of Section X, GDC may instead provide a summary of the
Stipulation with the United States’ advance written approval of the form and content of any
proposed summary.

43, GDC shall also ensure that its employees and agents who have supervisory
authority over the design and/or construction of Covered Multifamily Dwellings have a copy of,
are familiar with, and personally have reviewed, the Fair Housing Accessibility Guidelines, 56

Fed. Reg. 9472 (1991), and the United States Department of Housing and Urban Development,

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Fair Housing Act Design Manual, A Manual to Assist Builders in Meeting the Accessibility
Requirements of the Fair Housing Act (August 1996, Rev. April 1998). GDC and its employees
and agents whose duties, in whole or in part, involve the management, sale and/or rental of
multifamily dwellings at issue in this case shall be informed of those portions of the FHA that
relate to accessibility requirements, reasonable accommodations and reasonable modifications.
The educational program provided to employees not engaged in design, construction, or
maintenance, such as sales and rental employees, may focus on ithe portions of the law that relate
generally to accessibility requirements as opposed to technical design and construction
requirements.

44, Within ninety (90) days of the date of execution of this Stipulation, GDC and all
employees and agents whose duties, in whole or in part, involve or will involve supervision over
the development, design and/or construction of multifamily dwellings of the type at issue in this
case shall undergo training on the design and construction requirements of the FHA. The
training shall be conducted by a qualified third-party individual, not associated with GDC or its
counsel, and approved by the Department of Justice; and any expenses associated with this
training shall be paid by GDC. GDC shall provide to the United States, thirty (30) days before
the training, the name(s), address(es) and telephone number(s) of the trainer(s); and copies of any
training outlines and materials to be distributed by the trainers. GDC shall provide to the United
States, thirty (30) days after the training, certifications executed by GDC and covered employees
and agents confirming their attendance, in a form substantially equivalent to Appendix H.

XI. NOTICE OF GDC’s NON-DISCRIMINATION POLICY

45. Within thirty (30) days of the date of execution of this Stipulation, GDC shall post

and prominently display in the sales or rental offices of all Covered Multifamily Dwellings

owned or operated by GDC, a sign no smaller than ten (10) by fourteen (14) inches indicating

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that all dwellings are available for rental on a nondiscriminatory basis. A poster that comports
with 24 C.F.R. Part 110 will satisfy this requirement.

46. For the duration of this Stipulation, in all future advertising in newspapers and
electronic media, and on pamphlets, brochures and other promotional literature regarding the
existing complexes or any new complexes that GDC may develop or construct, GDC shall place,
in a conspicuous location, a statement that the dwelling units include features for persons with
disabilities required by the FHA.

47, One hundred and eighty (180) days after the date of execution of this Stipulation,
GDC shall submit to the United States an initial report regarding the signed statements of GDC’s
employees and agents who have completed the training program specified in paragraph 44 of this
Stipulation. Thereafter, during the term of this Stipulation, GDC shall, on the anniversary of the
execution of this Stipulation, submit to the United States a report containing the signed
statements of new employees and agents that, in accordance with paragraphs 39-42 of this
Stipulation, they have received and read the Stipulation or a summary thereof, and had an
opportunity to have questions about the Stipulation or such summary answered, except that the
last report shall be due sixty (60) days prior to the anniversary.

48. For the duration of this Stipulation, GDC shall advise the United States in writing
within fifteen (15) days of receipt of any written administrative or judicial fair housing complaint
regarding any property owned, managed, and/or designed or constructed by them, or, to the
extent known, against any employees or agents of GDC working at or for any such property,
regarding discrimination on the basis of disability in housing. Upon reasonable notice, GDC
shall also provide the United States all information it may request concerning any such
complaint. GDC shall also advise counsel for the United States, in writing, within fifteen (15)

days of the resolution of any complaint.

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49. _ For the term of this Stipulation, GDC is required to preserve all records related to
this Stipulation for Riverside and Parkside and any other Covered Multifamily Dwellings
designed, constructed, owned, or acquired by them during the duration of this Stipulation. Upon
reasonable notice to GDC, representatives of the United States shall be permitted to inspect and
copy any records of GDC or inspect any developments or residential units under GDC’s control
bearing on compliance with this Stipulation at any and all reasonable times, provided, however,
that the United States shall endeavor to minimize any inconvenience to GDC from such
inspections.

XI. Low-INCOME HOUSING TAX CREDIT PROGRAM COMPLIANCE

50. GDC is hereby notified that, in the event that GDC fails to comply with any of the
terms of this Stipulation and the United States obtains an order establishing such noncompliance,
the United States may take any appropriate action, including but not limited to notifying the
appropriate state housing finance agency of the violation. See 26 U.S.C. § 42¢m)(1)(B)(iiD.

XI, TERM OF STIPULATION

51. This Stipulation shall, subject to Paragraphs 10 and 18, remain in effect for three
(3) years following execution of this Stipulation. By executing this Stipulation, the parties agree
that in the event that GDC engages in any future conduct occurring during the term of this
Stipulation that leads to a determination of a violation of the FHA, such conduct shall constitute
a “subsequent violation” pursuant to 42 U.S.C. § 3614(d)(1)(C) Gi.

52. The term of this Stipulation may be extended by the mutual written agreement of
the parties.

53, In the event the United States reinstates this Action, as contemplated by the

Settlement Stipulation, GDC agrees pursuant to Federal Rule of Civil Procedure 15(a)(2) that the

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United States may amend the complaint to assert any claims that have not been released under
this Stipulation.

54.‘ The parties agree that the only appropriate remedy for cither party’s failure to
perform any non-monetary obligation contained in this Stipulation is specific performance.

55, The United States and GDC shall endeavor, in good faith, to resolve any
differences regarding interpretation of and compliance with this Stipulation prior to bringing
such matters to the Court for resolution.

XIV. TIME FOR PERFORMANCE

56. Any time limits for performance imposed by this Stipulation may be extended by
the mutual written agreement of the United States and GDC, the consent to which shall not be
unreasonably denied or withheld.

XV. MISCELLANEOUS
57. The United States and GDC will bear their own costs and attorney’s fees

associated with this litigation.

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58. ‘The United States and GDC understand and agree that this Stipulation and the
appendices thereto contain the enlire agreement between them, and that any statements,
representations, promises, agreements, or negotiation, oral or otherwise, between the parties or

their counsel that are not included herein shall be of no force or effect.

For the United States: For GDC:
GEOFFREY 5. BERMAN

United States Attorney
By:

 

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Jacob.Lillywhite@usa.doj.gov
Lauren, Lively@usa.doj.gov

 

DATED: Aprill{_, 2018 DATED: April ff , 2018
New York, New York Hawthome, New York
SO ORDERED:
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APPENDIX C

NOTICE TO RESIDENTS OR PROSPECTIVE RESIDENTS
OF RETROFITS FOR RIVERSIDE AND PARKSIDE,
WHICH MUST BE SCHEDULED WITHIN THE NEXT SIX MONTHS

Ginsburg Development Companies is dedicated to the principle of equal housing
opportunity. The federal Fair Housing Act requires that apartments in newer apartment
communities have certain features of physical accessibility for people with disabilities.

This is to advise you that, as a result of a settlement in a case brought by the
United States against the developers and designers of this apartment complex, we have
agreed to modify, by varying degrees, certain apartments at Riverside and Parkside to
provide greater accessibility for people with disabilities. Your unit or prospective unit is
one of those that has been identified as appropriate for certain retrofits. We want you to
know that you may request to have your apartment, or prospective apartment, modified
now at no cost to you. Should you have to move out temporarily, we will pay reasonable
relocation and housing expenses while the modifications are being made.

Depending on the particular features in your unit, the modifications may include:

* Modification of door entries and thresholds to ensure accessibility to persons
in wheelchairs;

* Modification of bathrooms to ensure accessibility to persons in wheelchairs;

* Modification of kitchen countertops to ensure usability by persons with
disabilities; or
* Provision of power strips for electrical outlets.
While you do not have to request the modifications now, you should be aware that
some of this work may be required at some point during the term of your lease. A
representative will be contacting you soon to review these modifications and to discuss a

time frame within which these modifications may be made.

If you have any questions, please contact us at the management office.

 
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APPENDIX D

ACKNOWLEDGMENT OF RECEIPT OF STIPULATION
I ‘ , am an employee of and my duties
include . [have received and read a copy of the
Settlement Stipulation, or a summary thereof, in United States of America v. Ginsburg
Development Companies, LLC, 16 Civ. 7301.(NSR) (S.D.N.Y.), and have been given
instruction on (1) the terms of this Settlement Stipulation, (2) the requirements of the Fair
Housing Act, particularly related to the Act’s design and construction requirements, and
(3) my responsibilities and obligations under the Settlement Stipulation and the Fair
Housing Act. I have had all of my questions concerning the Settlement Stipulation
answered to my satisfaction.

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Employee Signature

 
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APPENDIX E

NOTICE TO PERSONS WHO MAY HAVE SUFFERED FROM INADEQUATE
ACCESSIBLE FEATURES AT RIVERSIDE AND PARKSIDE

On 2017, the United States District Court for the Southern District of
New York approved a settlement resolving a lawsuit brought by the United States
Department of Justice against certain builders and developers alleging that they failed to
include certain accessible features for persons with disabilities required by the Fair
Housing Act, 42 U.S.C. § 3604(£)(3)(c), in the design and construction of Riverside and
Parkside.

Under this settlement, a person may be entitled to receive monetary relief if, in
relation to any of the properties identified below, he or she:

° WAS DISCOURAGED FROM LIVING AT THAT PROPERTY BECAUSE OF
THE LACK OF ACCESSIBLE FEATURES;

° HAS BEEN HURT IN ANY WAY BY THE LACK OF ACCESSIBLE
FEATURES AT THAT PROPERTY;

e PAID TO HAVE AN APARTMENT AT THAT PROPERTY MADE MORE
ACCESSIBLE TO PERSONS WITH DISABILITIES; OR

e WAS OTHERWISE DISCRIMINATED AGAINST ON THE BASIS OF
DISABILITY AT THAT PROPERTY.

The properties relevant to this notice are:

e RIVERSIDE e PARKSIDE

if you wish to make a claim for discrimination on the basis of disability, or if you
have any information about persons who may have such a claim, please contact the
United States Attorney’s Office, Southern District of New York at 212-637-0840. You
may also fax us at 212-637-2702 or write to:

United States Attorney’s Office, Souther District of New York
Attn: Civil Rights Unit
86 Chambers Street
New York, New York 10007

NOTE: You must call or write no later than , 20

 
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APPENDIX F
RELEASE FORM

In consideration of the payment of the sum of dollars
(3 ), pursuant to the Settlement Stipulation entered in United States of America v.
Ginsburg Development Companies, LLC, 16 Ciy. 7301 (NSR) (S.D.N.Y.), I hereby
release from any and all liability for any
claims, legal or equitable, I may have against them arising out of the issues alleged in the
above-styled action.

I fully acknowledge and agree that this release of the above-named parties shall
be binding on my heirs, representatives, executors, successors, administrators, and
assigns.

I hereby acknowledge that I have read and understand this release and have
executed it voluntarily and with full knowledge of its legal consequences.

 

(Signature)

 

(Print name)

(Date)

 
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APPENDIX G
ACKNOWLEDGMENT OF RECEIPT OF SETTLEMENT STIPULATION

I , am an employee of and my duties
include . [have received and read a copy of the
Settlement Stipulation, or a summary thereof, in United States of America v. Ginsburg
Development Companies, LLC, 16 Civ. 7301 (NSR) (S.D.N.Y.), and have been given
instruction on (1) the terms of this Settlement Stipulation, (2) the requirements of the Fair
Housing Act, particularly related to the Act’s design and construction requirements, and
(3) my responsibilities and obligations under the Settlement Stipulation and the Fair
Housing Act. I have had all of my questions concerning the Settlement Stipulation
answered to my satisfaction.

 

 

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Employee Signature

 
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APPENDIX H
CERTIFICATION OF FAIR HOUSING TRAINING

On , L attended training on the federal Fair Housing Act, including its
requirements concerning physical accessibility for persons with disabilities. I was also
instructed as to the rental policies and procedures, including the nondiscrimination,
complaint, and reasonable accommodation policies of the Fair Housing Act. I have had
all of my questions concerning the Fair Housing Act answered to my satisfaction.

 

Employee Signature

 

Print Name

 

Date

 
